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               IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION


FEDERAL TRADE COMMISSION,
                  Plaintiff,

          v.                                Civil Action No. 4:20-cv-02717
ZAAPPAAZ, LLC, AZIM MAKANOJIYA,
                  Defendants.


                    DEFENDANTS’ NOTICE OF APPEAL

      Defendants Zaappaaz, LLC and Azim Makanojiya (“Defendants”) appeal to

the United States Court of Appeals for the Fifth Circuit from the final judgment

entered on March 29, 2024 (Dkt. 161), and all other orders, opinions, rulings, and

decisions merged therein.




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May 24, 2024                            Respectfully submitted,




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                        CERTIFICATE OF SERVICE

      I certify that on May 24, 2024, a true and correct copy of the foregoing was

electronically filed with the Clerk of the Court using CM/ECF, served on users

registered to receive electronic notice in the captioned case via transmission of

Notices of Electronic Filing generated by CM/ECF, and via email on the counsel

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